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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:05CR138
                      Plaintiff,                   )
                                                   )
       vs.                                         )               ORDER
                                                   )
GUSTAVO AMBRIZ-SALDANA,                            )
                                                   )
                      Defendant.                   )
       This matter is before the court on the motion to continue trial by defendant Gustavo
Ambriz-Saldana (Ambriz-Saldana) (Filing No. 39). Ambriz-Saldana seeks a continuance of
the trial presently scheduled for August 8, 2005. Ambriz-Saldana has submitted an affidavit
in accordance with paragraph 9 of the progression order whereby Ambriz-Saldana consents
to the motion and acknowledges he understands the additional time may be excludable time
for the purposes of the Speedy Trial Act. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Ambriz-Saldana's motion to continue trial (Filing No. 39) is granted.
       2.     Trial of this matter is re-scheduled for September 12, 2005, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendants in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between July 26, 2005 and
September 12, 2005, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason that defendants' counsel require
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 26th day of July, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
